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                                            U.S. Department of Justice
                                            United Stales Attorney
    -                                       District of New Jersey



                                            970 Broad Street. Suite 700   (973j   645-2700
                                            Ne”erk New Jersey 07102



                                            August 22, 2019

Joshua P. Cohn
Cohn Lifland Pearlman Herrmann & ICnopf LLP
Park 80 West Plaza One
              —




250 Pehie Avenue Suite 401
                   —




Saddle Brook, NJ 07663

            Re: Plea Agreement with Raymundo Torres
                  (Lr;n’nct-t ..J°-        L7-G1(p
Dear Mr. Cohn:

            This letter sets forth the plea agreement between your client,
Raymundo Torres (“TORRES”), and the United States Attorney for the District
of New Jersey (“this Office”). The government’s offer to enter into this plea
agreement will expire on August 27, 2019 if it is not accepted in writing by
that date.

Charge

             Conditioned on the understandings specified below, this Office will
accept a guilty plea from TORRES to a one-count Information that charges him
with conspiracy to commit bank fraud contrary to 18 U.S.C. § 1344 in violation
of 18 U.S.C. § 1349. If TORRES enters a guilty plea and is sentenced on this
charge, and otherwise fully complies with all of the terms of this agreement,
this Office will not initiate any further criminal charges against TORRES for
conspiring with Edward Espinal, Jenny Frias, and others to commit bank
fraud, between in or about March 2016 through on or about May 2017.
However, in the event that a guilty plea in this matter is not entered for any
reason or the judgment of conviction entered as a result of this guilty plea does
not remain in full force and effect, TORRES agrees that any dismissed charges
and any other charges that are not time-barred by the applicable statute of
limitations on the date this agreement is signed by TORRES may be
commenced against him, notwithstanding the expiration of the limitations
period after TORRES signs the agreement.
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 Sentencing

             The violation of 18 U.S.C. § 1344 and 1349 to which TORRES
agrees to plead guilty in the Information carries a statutory maximum prison
sentence of 30 years and a statutory maximum fine equal to the greatest of:
(1) $1,000,000, or (2) twice the gross amount of any pecuniary gain that any
persons derived from the offense, or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense.

            Fines imposed by the sentencing judge may be subject to the
payment of interest.

             The sentence to be imposed upon TORRES is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. § 355 1-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence TORRES ultimately will
receive.

             Further, in addition to imposing any other penalty on TORRES, the
sentencing judge: (1) will order TORRES to pay an assessment of $100
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) must order TORRES to pay restitution pursuant to 18 U.S.C.
§ 3663A; (3) must order forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461; and (4) pursuant to 18 U.S.C. § 3583, may require TORRES to
serve a term of supervised release of not more than 5 years, which will begin at
the expiration of any term of imprisonment imposed. Should TORRES be
placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, TORRES may
be sentenced to not more than 3 years’ imprisonment in addition to any prison
term previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time previously served on
post-release supervision, and may be sentenced to an additional term of
supervised release.

            Defendant agrees that restitution is mandatory pursuant to 18
U.S.C. § 3663A. Defendant agrees to the entry of a restitution order for the full
amount of the victims’ losses. Pursuant to 18 U.S.C. § 3663A(c)(2), the
defendant agrees that an offense listed in 18 USC § 3663A(c)(1) gave rise to this
plea agreement, and as such, victims of the conduct described in the charging
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instrument and any related or similar conduct shall be entitled to restitution.
The District Court will make the final determination of the restitution amount
at the disposition of the case. If the Court imposes a schedule of payments, the
defendant understands that the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the
methods available to the United States to enforce the judgment.

Rights of This Office Regarding Sentencing

               Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on TORRES by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or othenvise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the full nature and extent of TORRES’s activities
and relevant conduct with respect to this case.

Stipulations

              This Office and TORRES agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or TORRES from any other portion of this agreement,
including any other stipulation. If the sentencing court rejects a stipulation,
both parties reserve the right to argue on appeal or at post-sentencing
proceedings that the sentencing court was within its discretion and authority
to do so. These stipulations do not restrict this Office’s right to respond to
questions from the Court and to correct misinformation that has been provided
to the Court.


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Waiver of Appeal and Post-Sentencing Rights

              As set forth in Schedule A, this Office and TORRES waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 or a motion
under 28 U.S.C. § 2255.

Forfeiture

              As part of his acceptance of responsibility, and pursuant to 18
U.S.C. § 982(a)(2), TORRES agrees to forfeit to the United States all of his right,
title, and interest in any property, real or personal, which constitutes or is
derived from proceeds the defendant obtained that are traceable to the offenses
charged in the Information. TORRES further agrees that one or more of the
conditions set forth in 21 U.S.C. § 853(p) exists; and that the United States is
therefore entitled to forfeit substitute assets equal to but not greater than the
value of the proceeds obtained by the defendant (the “Money Judgment”). The
defendant consents to the entry of an order requiring the defendant to pay the
Money Judgment, in an amount to be agreed upon by the parties by the date of
sentencing in this case, in the manner described below (the “Order”), and that
the Order will be final as to the defendant prior to sentencing, pursuant to Rule
32.2(b)(4) of the Federal Rules of Criminal Procedure, and which may be
satisfied in whole or in part with substitute assets. In the event the Office and
TORRES fail to reach an agreement on the Money Judgment prior to
sentencing, TORRES agrees that the amount of the Money Judgment will be
determined by the Court at the time of sentencing, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure. TORRES acknowledges that the Money
Judgment is subject to forfeiture as property, real or personal, that constitutes
or is derived from proceeds traceable to the offenses in violation of 18 U.S.C. §
1344 and 1349 charged in the Information, to which TORRES is pleading
guilty.

              All payments made in full or partial satisfaction of the Money
Judgment shall be made by postal money order, bank, or certified check, made
payable in this instance to the United States Marshals Service, indicating the
defendant’s name and case number on the face of the check; and shall be
delivered by mall to the United States Attorney’s Office, District of New Jersey,
Attn: Asset Forfeiture and Money Laundering Unit, 970 Broad Street, 7th Floor,
Newark, New Jersey 07102. If not paying at or before plea: The defendant
further agrees that upon entry of the Order, the United States Attorney’s Office
is authorized to conduct any discovery needed to identify, locate, or dispose of
property sufficient to pay the Money Judgment in full or in connection with any
petitions filed with regard to proceeds or substitute assets, including

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depositions, interrogatories, and requests for production of documents, and the
issuance of subpoenas.

               TORRES waives the requirements of Rules 32.2 and 43(a) of the
Federal Rules of Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The defendant understands
that criminal forfeiture is part of the sentence that may be imposed in this case
and waives any failure by the court to advise him of this pursuant to Rule
 l1(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. The defendant waives any and all constitutional, statutory, and
other challenges to the forfeiture on any and all grounds, including that the
forfeiture constitutes an excessive fine or punishment under the Eighth
Amendment. It is further understood that any forfeiture of the defendant’s
assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty the Court may impose upon him in
addition to forfeiture.

              TORRES further agrees that not later than the date he enters his
plea of guilty he will provide a complete and accurate Financial Disclosure
Statement on the form provided by this Office. If TORRES fails to provide a
complete and accurate Financial Disclosure Statement by the date he enters
his plea of guilty, or if this Office determines that TORRES has intentionally
failed to disclose assets on his Financial Disclosure Statement, TORRES agrees
that that failure constitutes a material breach of this agreement, and this
Office reserves the right, regardless of any agreement or stipulation that might
otherwise apply, to oppose any downward adjustment for acceptance of
responsibility pursuant to U.S.S.G. § 3E1.1, and to seek leave of the Court to
withdraw from this agreement or seek other relief.

Immigration Consequences

              TORRES understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses will likely result in his being
subject to immigration proceedings and removed from the United States by
making him deportable, excludable, or inadmissible, or ending his
naturalization. TORRES understands that the immigration consequences of
this plea will be imposed in a separate proceeding before the immigration
authorities. TORRES wants and agrees to plead guilty to the charged offenses
regardless of any immigration consequences of this plea, even if this plea will
cause his removal from the United States. TORRES understands that he is
bound by his guilty plea regardless of any immigration consequences of the
plea. Accordingly, TORRES waives any and all challenges to his guilty plea and
to his sentence based on any immigration consequences, and agrees not to
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seek to withdraw his guilw plea, or to file a direct appeal or any kind of
collateral attack challenging his guilty plea, conviction, or sentence, based on
any immigration consequences of his guilty plea.

Other Provisions

             This agreement is limited to the United States Attorney’s Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.

              This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against TORRES. This agreement does not prohibit the United States, any
agency thereof (including the Internal Revenue Service) or any third party from
initiating or prosecuting any civil or administrative proceeding against
TORRES.

              No provision of this agreement shall preclude TORRES from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that TORRES received constitutionally
ineffective assistance of counsel.




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No Other Promises

             This agreement constitutes the plea agreement between TORRES
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

                                          Very truly yours,

                                          CRAIG CARPENITO
                                          United States Attorney




                                          By: AR] B. FONTECCHJO
                                              STEPHEN FERKETIC
                                          Assistant U.S. Attorney

APPROVED:



DANIEL WAP1RO
Chief, Economic Crimes Unit




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              I have received this letter from my attorney, Joshua P. Cohn, Esq.
I have read it. My attorney and I have discussed it and all of its provisions,
including those addressing the charges, sentencing, stipulations, waiver,
restitution, forfeiture, and immigration consequences. I understand this letter
fully. I hereby accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand that no
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties. I want to plead guilty
pursuant to this plea agreement.

AGREED AND ACCEPTED:



                                                 Date:
RA MUNDOTORRES
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             I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations,
waiver, restitution, forfeiture, and immigration consequences. My client
understands this plea agreement fully and wants to plead guilty pursuant to it.




JO
     / p$
     UA P. COW    ,   Esq.
                                                 Date:




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                      Plea Agreement with Raymundo Torres

                                    Schedule A

             1. This Office and Raymundo Torres (“TORRES”) recognize that the
United States Sentencing Guidelines are not binding upon the Court. This
Office and TORRES nevertheless agree to the stipulations set forth herein, and
agree that the Court should sentence TORRES within the Guidelines range that
results from the total Guidelines offense level set forth below. This Office and
TORRES further agree that neither party will argue for the imposition of a
sentence outside the Guidelines range that results from the agreed total
Guidelines offense level.

           2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case.

             3. The applicable guideline for conspiracy is U.S.S.G. § 2X1.1,
which provides that the base offense level for any conspiracy is the base offense
level from the guideline for the substantive offense. Because the substantive
offense is bank fraud, the applicable guideline is U.S.S.G. § 231.1(a)(1), which
carries a Base Offense Level of 7.

              4. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(1)(J) applies
to the offense  of conviction because the offense involves losses of more than
$3,500,000 and less than $9,500,000. The offense level is therefore increased
by 18 levels.

            5. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(2)(A)
because the offense involved 10 or more victims. The offense level is therefore
increased by 2 levels.

             6. The Adjusted Base Offense Level for the offense of conviction is
therefore 27.

             7. As of the date of this letter, it is expected that TORRES will
enter a plea of guilty prior to the commencement of trial, will truthfully admit
his involvement in the offense and related conduct, and will not engage in
conduct that is inconsistent with such acceptance of responsibility. If all of
these events occur, and TORRES’s acceptance of responsibility continues
through the date of sentencing, a downward adjustment of 2 levels for
acceptance of responsibility will be appropriate. See U.S.S.G. § 3E1. 1(a) and
Application Note 3.

             8. As of the date of this letter, TORRES has assisted authorities in
the investigation or prosecution of his own misconduct by timely notifying
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authorities of his intention to enter a plea of guilty, thereby permitting this
Office to avoid preparing for trial and permitting this Office and the court to
allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in TORRES’s offense level pursuant to U.S.S.G. §
3E1.1(b) if the following conditions are met: (a) TORRES enters a plea
pursuant to this agreement, (b) this Office in its discretion determines that
TORRES’s acceptance of responsibility has continued through the date of
sentencing and TORRES therefore qualifies for a 2-point reduction for
acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) TORRES’s
offense level under the Guidelines prior to the operation of 3E1.1(a) is 16 or
greater.

            9. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to TORRES is 24 (the “agreed total
Guidelines offense level”).

             10. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

               11. TORRES knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack,
or any other writ or motion, including but not limited to an appeal under 18
U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges the
sentence imposed by the sentencing court if that sentence falls within or below
the Guidelines range that results from the agreed total Guidelines offense level
of 24. This Office will not file any appeal, motion, or writ which challenges the
sentence imposed by the sentencing court if that sentence falls within or above
the Guidelines range that results from the agreed total Guidelines offense level
of 24. The parties reserve any right they may have under 18 U.S.C. § 3742 to
appeal the sentencing court’s determination of the criminal history category.
The provisions of this paragraph are binding on the parties even if the court
employs a Guidelines analysis different from that stipulated to herein.
Furthermore, if the sentencing court accepts a stipulation, both parties waive
the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so.

            12. Both parties reserve the right to oppose or move to dismiss
any appeal, collateral attack, writ, or motion barred by the preceding
paragraph and to file or to oppose any appeal, collateral attack, writ or motion
not barred by the preceding paragraph.



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